Case 1:01-cv-12257-PBS Document 4684-3 Filed 09/05/07 Page 1 of 20




                                                Exhibit 3(b): Amgen


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                 SOMERVillE,   MA 02144

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                               SHEET METAL WORKERS' NATIONAL HEAL1H FUND
                                                 P.G.Box 1449
                                        Goodlettsville, 1N 37070-1449
Claim No. 2674336               Phone (6J'S) 859-0131 Toll-free (800) 831-4914·                     Check No. 1212372
                                           Explanation of Benefits                     SMW+ ProQram




             08/0212004   08/30/2004 $19,432.28              $0.00     $753.50         $753.50       $753.50




Comments;




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      DIALYSIS CLINIC, INC.
      645 BROADWAY
      SOMERVILLE,      MA 02144

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  DIALYSIS CLINI,:NC.
  645 BROADWAY
  SOMERV:nLE,             MA   44
   (617) 956-6389
12 PATIENT NAME


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    uIe. # 039373                           05/12/0-
                                                                           SPRINGFIELD, MA 0.1104-0.00                                                        WINDSOR, CT 06095-0000
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         Case 1:01-cv-12257-PBS Document 4684-3 Filed 09/05/07 Page 9 of 20




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  . SPRINGFIELD MEDICAL A$SOC INC
    PO BOX219                                                        MEDICARE REMITTANCE NOTICE
    WINDSOR, CT 06095
  .Phone: (800) 883-5985                                              Provider/C Iin ic#:                                    N51714

  Check No/EFT Trace No:                         127514312
  Date Paid: 5/03/2004


  NAME:                                        HIC:                         ACCOUNT:                  ICN:


PERFPROV.     SERVICE DATES        POS   NOS      PROC     MODS   BILLED     ALLOWED    DEDUCT   COINS     ~RPIRC-AMT          PAIDAMT.

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N51714       4113/2004 4/1312004   11    002      J7Q40            24.00       11.28     0,00      2.26        12..72            Q.02
N51714       4/14/2004 4/14/2004   11    001      J2;505          36B8.00,    2507.50    0.00     501.50      1180.50          2006.00
N51714       4/1412004 4/14/2004   11    001      90782            30.00       26.66     0.00      5.33        3.34             21.33
PT Respon:     509.33                          Claim Totals:      3802.00     2546.64    0.00    509.33       1255.36          2037.31




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            Case 1:01-cv-12257-PBS Document 4684-3 Filed 09/05/07 Page 10 of 20




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                              SHEET METAL WORKERS' NATIONAL HEALTH FUND
                                                   P.O. Box 1449
                                        GoodleUsville, 1N 37070-1449
. Claim No. 2537553
                                Phone (615) 859-0131 Toll-free (800) 831-4914                    Check No. 1081756
                                          .Explanation of Ben'efits                   s~W+ Program




            04/13/2004    04/14/2004 $3,802.00           $0.00       $509.33         $509.33      $509.33




Comments:




-  SPRINGFIELD
   PO BOX 219
   \lYINDSOR., CT 06095
                       MEDICAL ASSOCIATE
                                                             Provider:
                                                             Participanl SSN:
                                                             VLC    Claim Number.
                                                                                     SPRINGFIELD MEDICAL ASSOCIATES

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                                    Processed by    !!II1J Administrators, Inc.


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                     Case 1:01-cv-12257-PBS Document 4684-3 Filed 09/05/07 Page 11 of 20




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                                   SHEET METAL WORKERS' NATIONAL HEALTH FUND
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    i,                                                  P.O. Box 1449
                                             Goodlettsville. 1N 37070-1449
         Claim No. 2916294           Phone (615) 859-0131 Toll-free (800) 831-4914                    Check No. 1436381
                                              Explima~ion of B~nefits                       SMW+ ProQram




                . 04/08/2005   04108/2005 $1,296.00             $0.00      $141-.66        .$141.66   $141'.66 ..




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         Comments:




         -  FLORIDA CANCER SPECIALISTS
            P.O. BOX 60679
            FORT MYERS, FL 33~06
                                                                    Provider.
                                                                    Partic1pant SSN:
                                                                    RES'   Claim Number:
                                                                                           FLORIDACANCERSPECIALISTS

                                                                                           2916294




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                                            Prol;essed by   u.!J Admi1.'istrators, f'le.


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                                                                                                                                                     FLQRIDA CAN~ER SPECIALISTS
                                                                                                                                                     PO BOX 60679
                                                                                                                                                     FORT MYERS                       FL 33906-£679
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     Case 1:01-cv-12257-PBS Document 4684-3 Filed 09/05/07 Page 13 of 20


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Case 1:01-cv-12257-PBS Document 4684-3 Filed 09/05/07 Page 14 of 20




                                                 Exhibit 3(c): Aventis


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                       Case 1:01-cv-12257-PBS Document 4684-3 Filed 09/05/07 Page 15 of 20
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           EMPlOYEE                                                         DEPENDENT   nF APPUCI\BlE]


           PROVIDER TAX LD. I;
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                                                                                  L HEALTH FUND                                                              DATEISSUED .
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           OF                     HOLYOKE HOSPITAL INC.                                                                      "    ~.
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                                         SHEET METAL WORKERS' NATIONAL HEALTH FUND
                                                                        p.D. Box 1449                                                 .5MW.... PRnGRAIj
                                                             Goodletlsvllle, Tennessee 37070-1449                                              .     ~-
                                                       Toll-Free 800-831-4914     Phone (615) 859-0131
                                                                 EXPLANATION       OF BENEFITS
           FROM                        TO           CHARGES                NON              CHARG~S           .COVERED                       AMOUNT
           DATE                       DATE        SUBMITTED            COVERED              ALLOWED            CHARGES                         PAID
       03/25/2003            03/25/2003                2573.60                  .00            195.02            195.02                      195.02




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                                                                                                       POllED       DMB NO. 093ll-ll27S

      1I0LYOKE nOSPIAL           INC                                    3 PAllfNJ' comool   NO.
      575 BEECH §T' ET
      HOL YOKE MA    40

    12 PATIENT NAME




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             Case 1:01-cv-12257-PBS Document 4684-3 Filed 09/05/07 Page 18 of 20



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                                SHEET METAL WORKERS' NATIONAL HEALTH FUND
                                                  P.O. Box 1449
                                         GoodlettsVille, 1N 37070-1449
Claim. No. 2877902               Phone (615) 859-0131 _Toll-free (800) 831-4914                         Check No. 1401278
                                            Explanation of Benefits                            SMW+ -Proaram




            03/0312005      03/03/2005"     $4,118.95         $0.00       $510.38             $510.38    $51038




Comments:




                                                                   Provider:                  WING MEMORIALHOSPITALCORPO
                                                                   ParticipanlSSN:                     Dependent:
                                                                   JlS   Claim Number.        2877902
   WING MEMORIAL HOSPITAL CORPO
   40 WRIGHT ST.
   PALMER, MA 01069

                                                         _        Southern Benefit
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                       Case 1:01-cv-12257-PBS Document 4684-3 Filed 09/05/07 Page 19 of 20



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    PO BOX 1449
    GOODLETTSVILLE                                                                                             033105
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                        Case 1:01-cv-12257-PBS Document 4684-3 Filed 09/05/07 Page 20 of 20




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